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                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

In re:                                               )     Chapter 11

QUIKSILVER,INC., et al.,                             )     Case No. 15-11880(BLS)

                     Debtors.l                       )
                                                           Jointly Administered



                                     CERTIFICATE OF SERVICE

                 I, Laura Davis Jones, hereby certify that on the            day of February, 2016, I

caused a copy of the following documents to be served on the individuals on the attached service

list in the manner indicated:

                 Notice ofFiling Fist Quarterly ApplicationfoN Compensation and
                 Reimbursement ofExpenses ofPachulski Stang Ziehl &Jones LLP, as Co-
                 Counsel to the DebtoNs and DebtoNs In Possession,foy~ the Periodfrom
                 September 9, 201S through December 31, 201S.



                                                                     ~'            ~~
                                                    Laura ~ais Jones(DE Bar No. 2436)




 i The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
Quiksilver, Inc.(9426), QS Wholesale, Inc.(8795), DC Direct, Inc.(8360, DC Shoes, Inc.(0965), Fidra, Inc.
(8945), Hawk Designs, Inc.(l l21), Mt. Waimea, Inc.(5846), Q.S. Optics, Inc.(2493), QS Retail, Inc.(0505),
Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, lnc. (9599). The address of the Debtors' corporate
headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.


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